Case 1:25-cv-01224-TWP-CSW             Document 4           Filed 06/20/25     Page 1 of 6 PageID #: 16



                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA


                                                             Case No. .1:25-cv-01224-TWP-CSW

  ELBERT COLEMAN
                                                             Judge Tanya Walton Pratt

          Plaintiff,


                                                             Removed from Marion County Superior Court
                                                             Case No. 49D04-2504-CT-017424
     V.

                                                                                   FILED
  COINBASE INC.,                                                                  06/20/2025
           Defendants,                                                       U.S. DISTRICT COURT
                                                                         SOUTHERN DISTRICT OF INDIANA
                                                                             Kristine L. Seufert, Clerk




          Plaintiff, Elbert Coleman, files this: MOTION :




                                                    1
Case 1:25-cv-01224-TWP-CSW             Document 4        Filed 06/20/25      Page 2 of 6 PageID #: 17




     PLAINTIFF’S MOTION TO REMAND TO STATE COURT AND OBJECTION TO

                                             REMOVAL


  Plaintiff Elbert Coleman respectfully moves this Honorable Court to remand this action back to

  Marion Superior Court pursuant to 28 U.S.C. § 1447(c) and in support states the following:


                                         I. INTRODUCTION


  Coinbase's attempted removal is procedurally and jurisdictionally defective, violates the

  removal statutes' strict construction, and disregards multiple controlling authorities, including

  Indiana Trial Rules, federal due process, and United States Supreme Court precedent on

  timely and proper service.


  Coinbase improperly removed this case without ever being served, in direct contradiction of 28

  U.S.C. § 1446(b) and settled Seventh Circuit precedent that conditions removal jurisdiction on

  formal service.


      II. LEGAL STANDARD: REMOVAL IS NOT PROPER UNTIL DEFENDANT IS

                                               SERVED


  Under 28 U.S.C. § 1446(b)(1), removal is proper “within 30 days after the defendant receives

  through service or otherwise a copy of the initial pleading.”


  But in Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347–48 (1999), the

  U.S. Supreme Court held:


  “An individual or entity named as a defendant is not obliged to engage in litigation unless

  notified of the action, and brought under a court’s authority, by formal process.”




                                                   2
Case 1:25-cv-01224-TWP-CSW              Document 4       Filed 06/20/25    Page 3 of 6 PageID #: 18




  Accordingly, the 30-day clock for removal does not begin until proper service has occurred

  under state law. Since Coinbase admits in its own removal notice (¶ 8) that it was not served, the

  removal is premature, and this Court lacks jurisdiction.


  The Seventh Circuit has repeatedly held the same. See:


     •    Copley v. Wyeth, Inc., 2007 WL 3342528 (S.D. Ind. Nov. 7, 2007): “Removal was

          improper because Defendants were not formally served.”


     •    Barrett v. Johnson & Johnson, 2014 WL 4169114 (S.D. Ind. Aug. 20, 2014):

          “Without formal service, the clock for removal does not begin to run.”


     •    Phoenix Container, L.P. v. Sokoloff, 235 F.3d 352 (7th Cir. 2000): “The language

          ‘through service or otherwise’ must be interpreted to require proper service.


         III. DEFENDANT’S ATTEMPT TO REMOVE BASED ON SELF-DISCOVERY

                   VIOLATES DUE PROCESS AND INDIANA PROCEDURE


   Coinbase’s removal, based solely on “discovering the complaint online” (Notice ¶ 8), violates

    due process and Indiana service rules. Indiana Trial Rule 4 requires certified mail, personal

                   service, or court-approved publication to invoke jurisdiction.


  The state court already denied Plaintiff’s default motion for lack of confirmed service. This

  means Coinbase is not yet under the court’s jurisdiction, and thus cannot remove.


  Federal courts are clear: self-notice is not sufficient. See:


     •    Moore v. North America Sports, Inc., 623 F.3d 1325 (11th Cir. 2010): “Defendant

          cannot remove based on its own investigation absent service.”



                                                    3
Case 1:25-cv-01224-TWP-CSW            Document 4       Filed 06/20/25      Page 4 of 6 PageID #: 19




     •   Pritchett v. Office Depot, Inc., 420 F.3d 1090 (10th Cir. 2005): “Allowing pre-service

         removal violates the strict construction of removal statutes.”


      IV. NO FEDERAL QUESTION JURISDICTION EXISTS OVER EFTA CLAIMS

                                    REMOVABLE IN EQUITY


  Even assuming removal jurisdiction was timely, Coinbase’s reliance on 28 U.S.C. § 1331

  (federal question) is misplaced. While EFTA provides a federal cause of action, Congress did

  not preempt state court jurisdiction for such claims.


     •   See 15 U.S.C. § 1693m(g): “Any action under this section may be brought in any

         appropriate United States district court or in any other court of competent jurisdiction.”


  This means Plaintiff had the right to choose Indiana court for his EFTA and Regulation E

  violations. Removal based solely on a federal statute is not mandatory, and in this case, Plaintiff

  made a deliberate and proper choice of forum.


    V. COMPLETE DIVERSITY IS IRRELEVANT WHEN REMOVAL IS DEFECTIVE

                                           UNDER § 1446


  Coinbase claims complete diversity under 28 U.S.C. § 1332—but diversity jurisdiction only

  matters after proper removal procedure is followed. Courts routinely remand improperly

  removed actions, even where diversity exists. See:


     •   Benson v. SI Handling Systems, Inc., 188 F.3d 780 (7th Cir. 1999): “Improper

         removal must be remedied by remand even if diversity exists.”


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Case 1:25-cv-01224-TWP-CSW              Document 4       Filed 06/20/25     Page 5 of 6 PageID #: 20




                                       VI. PRAYER FOR RELIEF


  For the reasons above, Plaintiff respectfully requests that this Court:


     1. GRANT this motion to remand the action to Marion Superior Court,


     2. ORDER that Defendant pay just costs and actual expenses incurred, including attorney’s

         fees, under 28 U.S.C. § 1447(c), and


     3. STRIKE or dismiss Coinbase’s improper Notice of Removal as premature and

         jurisdictionally defective.


     4. ATTACHED EXHIBIT A-C LETTER FROM DEFENDANT COUNSEL NOTICE

         OF SERVICE ADMISSION RECEIVED FROM COINBASE INC. TO CFPB.


         Executed on this 20st day of June, 2025




                                                                Respectfully submitted,

                                                                //ss: Elbert Coleman III

                                                                 Elbert Coleman III, PRO SE




                                                    5
Case 1:25-cv-01224-TWP-CSW           Document 4   Filed 06/20/25     Page 6 of 6 PageID #: 21



                                   CERTIFICATE OF SERVICE


  I hereby certify that I sent a copy of this PLAINTIFF’S MOTION TO REMAND TO STATE

  COURT AND OBJECTION TO REMOVAL, by mail and email to the opposing parties on this

  20th day of June, 2025.


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                                                                   Respectfully submitted,


                                                                   //ss: Elbert Coleman III


                                                                   Elbert Coleman III, Pro Se




                                             6
